Case 5:13-cv-00825-PSG Document 161-5 Filed 01/05/15 Page 1 of 5




        EXHIBIT AN
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        Case 5:13-cv-00825-PSG Document 161-5 Filed 01/05/15 Page 2 of 5
                     CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER


                                                                            Page 1
 1                   UNITED STATES DISTRICT COURT
 2               NORTHERN DISTRICT OF CALIFORNIA
 3                          SAN JOSE DIVISION
 4
 5   ------------------------------
 6   SENTIUS INTERNATIONAL, LLC,                  )
 7              Plaintiff,                        )
 8        vs.                                     ) Case No.
 9   MICROSOFT CORPORATION,                       ) 5:13-CV-825-PSG
10              Defendant.                        )
11   ------------------------------)
12
13        CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
14
15           VIDEOTAPED DEPOSITION OF ROBERT MILLS
16                     LOS ANGELES, CALIFORNIA
17                   TUESDAY, NOVEMBER 18, 2014
18
19
20
21   Reported by:
22   NANCY J. MARTIN, CSR No. 9504, RMR
23   JOB No. 1961772
24
25   PAGES 1 - 244


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                  Case 5:13-cv-00825-PSG Document 161-5 Filed 01/05/15 Page 3 of 5
                                       CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER

                                                              Page 150                                                                    Page 152
 1        Q. You have? When have you done that?              15:10:15      1   can -- in fact, I suspect Microsoft can't tell whether
 2        A. Paragraph 161 of my report. I cite to sworn    15:10:36       2   a specific application has been used by a specific
 3   testimony from a Microsoft witness in the Lucent trial                3   user, and the reason I think that's true is because
 4   that testified that about half of Office users have                   4   Microsoft conducts its own surveys to learn about
 5   historically used Outlook. In particular -- let's                     5   that. So I don't know that the parties could actually
 6   see. He testified that "the big dogs" of Office were                  6   track a royalty structure that way.
 7   always Word, Excel, PowerPoint, in that order.                        7          And then, of course, you have the issue with
 8   Outlook is sort of a distant fourth.                                  8   people may start using an application -- may not use
 9        Q. That actually reminds me of something I meant 15:11:23        9   it when they first purchase Office, but may start
10   to ask you earlier. In this Paragraph 161 --                         10   using it at some point down in the future, and, you
11   withdrawn.                                                           11   know, how would you handle that in a royalty-based
12           Okay. So you have -- in forming your                         12   calculation. It becomes unmanageable, essentially.
13   opinions in this matter, have you taken into account                 13   So I think that the most likely outcome would be that
14   any quantitative data with regard to the frequency at                14   the parties would agree to a royalty rate that would
15   which the accused applications are used, namely                      15   be applied to the programs, and with the understanding
16   Outlook, PowerPoint, Word, Publisher, and OneNote?                   16   that not all those programs will be used by every
17        A. Well, I had some of that information in mind   15:12:25      17   user.
18   as I was formulating my opinion, certainly, and I                    18       Q. And yet, in your view, each of those programs 15:15:47
19   recognize that Outlook is not the most used of the                   19   should have the same royalty rate?
20   products in the Office suite. In fact, it's,                         20       A. Yes. I think if you were to try to restrict    15:15:52
21   according to Microsoft, a distant fourth. And, yet,                  21   it down to just use, the rate would have to be much
22   I've included all of the copies of Outlook in my                     22   higher because I couldn't use, in the effective
23   effective royalty rate calculation. I haven't limited                23   royalty rate calculation, all copies of Outlook. I
24   it to just those copies that have been used by                       24   would use approximately 50 percent of those copies if
25   someone.                                                             25   I were looking at just the number of people that use


                                                             Page 151                                                                   Page 153
 1       Q. With regard to the publisher application,        15:13:14      1   Outlook. So that in and of itself would double the
 2   have you taken account of the frequency of which                      2   rate.
 3   Publisher is used in forming your opinions?                           3       Q. Sorry. Can you explain that?                   15:16:16
 4       A. Well, it's my understanding that it's used      15:13:27       4       A. Yes. So Microsoft testified at trial, a      15:16:17
 5   less frequently than the other four applications that                 5   Microsoft witness, that historically only half of
 6   I've mentioned.                                                       6   Office users use Outlook, and if we were going down
 7       Q. Is it used more or less frequently than         15:13:33       7   the line of trying to adjust rates based on usage,
 8   OneNote?                                                              8   then I would also have to consider that fact in my
 9       A. I think I have seen data that speaks to that, 15:13:47         9   effective royalty rate calculation.
10   but I don't recall which of those two applications                   10       Q. How would you do so?                           15:16:37
11   garners more use.                                                    11       A. I would look at the estimated -- I suppose        15:16:39
12       Q. Did that matter to you in forming your           15:13:56     12   the estimated number of people that have actually used
13   opinions?                                                            13   it. I don't think that's the most likely way that the
14       A. No, because I haven't identified a different     15:14:00     14   parties would structure an agreement. So I haven't
15   royalty rate for each of the products that form the                  15   done that. But that's, I think, the kind of analysis
16   suite. I had in mind that, as the baseline, I was                    16   that you would have to consider.
17   using a product that was a distance fourth in terms of               17       Q. Were the claims that were at issue in the         15:18:03
18   popularity, and that was something that I certainly                  18   Lucent case in the Day patent, were they apparatus
19   considered.                                                          19   claims or were they method claims?
20       Q. So regardless of whether a given application       15:14:29   20       A. I would have to look back to be certain. My        15:18:29
21   was, in fact, used, you included it within your                      21   recollection is that there were method claims
22   overall royalty calculation?                                         22   involved, but I would have to look back to be certain.
23       A. Yes, because I think the parties to a          15:14:43       23   I can't attest to that.
24   hypothetical negotiation would structure an agreement                24       Q. All right. Let me ask you about the terms of 15:20:04
25   that way. First of all, I don't know that Microsoft                  25   the Lucent agreement. The monetary term of the Lucent


                                                                                                                        39 (Pages 150 to 153)
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                   Case 5:13-cv-00825-PSG Document 161-5 Filed 01/05/15 Page 4 of 5
                                         CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER

                                                                 Page 154                                                                Page 156
 1   agreement was a lump sum payment; right?                                1   in which the Court modified that award, that indicates
 2       A. Yes.                                    15:20:16                 2   that the amount was a function of the extent to which
 3       Q. And what you have done, for purposes of your         15:20:17    3   Microsoft sold Outlook. In that kind of a situation
 4   analysis in this case, is you have taken that lump sum                  4   it's, in my view, appropriate to look at the amount as
 5   payment and divided it by what you assume to be the                     5   an effective amount per unit so we can draw
 6   count for the products that were at issue in that case                  6   comparisons between two settlement agreements that
 7   to derive an effective per-unit royalty rate; right?                    7   cover different quantities of use.
 8       A. No, that's not quite correct.                15:20:39            8        Q. Well, let's turn to the background of the      15:24:54
 9       Q. What did I get wrong?                         15:20:41           9   Lucent decision. The Court in that matter was
10       A. So the Lucent agreement was a lump-sum               15:20:44   10   performing a calculation to arrive at a lump-sum
11   agreement in which Microsoft agreed to pay                             11   valuation; right?
12               . And I have not used the entirety of that                 12        A. I think we need -- given the procedural        15:25:23
13   payment in my effective royalty rate calculation.                      13   history of the case, I want to make sure that we're
14   I've limited that calculation to the amount that was                   14   talking about the same -- I think we're talking about
15   actually awarded by the Court in the Lucent litigation                 15   the same order, the same situation. That case was on
16   for the date picker functionality in Outlook. If I                     16   appeal and remanded, and I suspect you're talking
17   had used the entire                as the basis for                    17   about the order on the JMOL.
18   calculating an effective royalty rate, the rate would                  18            MR. GLITZENSTEIN: I am.
19   be considerably higher.                                                19            Let me ask the court reporter to mark as
20       Q. So thank you for that correction. So you          15:21:37      20   Mills Exhibit 7 from the Lucent v. Microsoft case, the
21   took the figure that the judge in that case had chosen                 21   order granting in part and denying in part Microsoft's
22   for the damages amount and you divided -- for Outlook                  22   motion for judgment as a matter of trial and the
23   and you divided it by the number of units for Outlook;                 23   alternative, a new trial with a remittitur.
24   right?                                                                 24            (Deposition Exhibit 7 was marked for
25       A. Yes, that's, in effect, the calculation.      15:22:16          25            identification.)


                                                                 Page 155                                                                 Page 157
 1        Q. Now, is it always appropriate, in your view,     15:22:21       1   BY MR. GLITZENSTEIN:
 2   where there is a lump-sum agreement of any sort,                        2       Q. This is the order that you were just         15:26:24
 3   whether it's in settlement of litigation or otherwise,                  3   referring to?
 4   to take that figure and divide it by the number of                      4       A. Yes.                                 15:26:32
 5   units that might be encompassed by that agreement to                    5       Q. And turn to Page 5, please, in that order.     15:26:33
 6   come up with an effective royalty rate?                                 6   And do you see in the last full paragraph at the
 7        A. Is the question is that always appropriate?      15:22:54       7   bottom of Page 5 the Court notes that Lucent was
 8        Q. Yes.                                   15:22:56                 8   seeking a reasonable royalty based on the outcome of a
 9        A. I can't say that it would always be            15:23:05         9   hypothetical negotiation for a lump sum; right?
10   appropriate. I mean I would have to think of every                     10       A. I don't know that she's saying that in this   15:27:25
11   conceivable possibility before I could offer that                      11   paragraph. She's describing what a lump sum royalty
12   opinion. But I think in this case, it certainly is.                    12   agreement is. But I don't see her, in that paragraph
13        Q. Well, I want to understand your methodology         15:23:15   13   at least, saying that Lucent was seeking a lump sum
14   first. In what situations is it appropriate to take a                  14   royalty.
15   lump-sum payment amount in a license agreement and                     15       Q. I'm looking at Lines 21 and 22 on Page 5        15:27:38
16   divide it by the number of units that would be                         16   where she says, "Lucent emphasizes that this is a
17   encompassed by that agreement to arrive at a per-unit                  17   reasonable royalty case based on the outcome of a
18   effective royalty rate?                                                18   hypothetical negotiation for a lump sum; right?
19        A. Well, that's something that I commonly do in       15:23:41    19       A. I see. That's not the paragraph that I was     15:27:50
20   practice, and other damages experts do as well, but                    20   referring to. Yes, I see that.
21   it's not always possible because we don't always have                  21       Q. All right. So Lucent, in this case, wasn't   15:27:55
22   information about the number of units sold, for                        22   seeking a royalty that would be determined on the --
23   example. But in a situation like this, where we do                     23   on a per-unit basis; right?
24   have that kind of information and we have information                  24       A. It was seeking a royalty that depended on the 15:28:09
25   about the trial testimony, the jury award, and the way                 25   number of units sold.


                                                                                                                         40 (Pages 154 to 157)
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                                       CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER

                                                             Page 222                                                                  Page 224
 1       Q. Have you, in any of your other matters,          18:03:23     1   Microsoft as a product. So it's not so much the
 2   confronted the situation of a reasonable royalty on a                2   dollar amount, but it's the proportion of Microsoft
 3   subscription based product or service?                               3   sales that are attributable to Office. That's a
 4       A. I can think of examples where software            18:04:22    4   relevant factor.
 5   maintenance is part of the case, and that's sold on a                5       Q. What's that relevant to?                    18:09:51
 6   subscription basis.                                                  6       A. It shows that these -- the products at issue    18:09:52
 7       Q. And that was -- was there a royalty collected 18:04:32        7   here are of paramount importance to Microsoft. These
 8   on the maintenance component?                                        8   products account for a significant amount of its
 9       A. I don't have a specific recollection of how     18:04:44      9   revenue and, roughly, half of its operating profit as
10   those agreements worked.                                            10   a company.
11       Q. Other than that, can you recall any other        18:04:49    11       Q. Again, what is that relevant to as part of     18:10:09
12   instance?                                                           12   the opinions that you offer in this matter on what the
13       A. Let me think for just a moment. Again, I         18:04:58    13   appropriate measure of damages is?
14   reviewed a lot of license agreements.                               14       A. Well, it demonstrates that the products here     18:10:20
15          (Pause in proceedings.)                                      15   are extremely important to Microsoft. And so that's
16          THE WITNESS: Nothing is immediately coming                   16   something that I think is relevant under my analysis
17   to mind, but I haven't committed to memory all of the               17   of Georgia-Pacific. If the products were
18   agreements that I've reviewed, and I haven't thought                18   insubstantial and immaterial to Microsoft, then the
19   about that issue in detail.                                         19   outcome may be different.
20   BY MR. GLITZENSTEIN:                                                20       Q. Which Georgia-Pacific factor is this relevant 18:10:42
21       Q. In reaching your opinions in this matter, did 18:06:35       21   to?
22   you apply the entire market value rule, and if so,                  22          (The witness reviewed the document.)
23   how?                                                                23          THE WITNESS: It's relevant to
24       A. No, I did not.                           18:06:44            24   Georgia-Pacific No. 8, which is the established
25       Q. Why not?                                 18:06:46            25   profitability of the product made under the patent.


                                                             Page 223                                                                    Page 225
 1       A. Because I didn't have -- I mean it didn't        18:06:52     1   So at Paragraph 108 is where I discuss this.
 2   even occur to me to apply the entire market value rule               2   BY MR. GLITZENSTEIN:
 3   in this case because the products here are                           3       Q. In your view, is it relevant to anything        18:11:14
 4   multi-feature products that -- and I can't -- I don't                4   else?
 5   have any evidence that all of the sales of these                     5       A. Not that comes to mind.                       18:11:52
 6   products are driven by the patented functionality.                   6       Q. You mentioned Paragraph 107. So how is              18:11:54
 7       Q. If you could turn in your report to            18:07:24       7   Microsoft's total profit relevant to profitability?
 8   Paragraph 106, please.                                               8       A. I'm not sure I understand the question. In        18:12:15
 9       A. Yes.                                   18:07:39               9   fact, I don't understand the question.
10       Q. You state there that "Microsoft has generated 18:07:39       10       Q. Do you understand that there's a distinction       18:12:19
11   more than                 in revenue from" Microsoft                11   between profitability and profit?
12   Office. How was that relevant to your analysis and                  12       A. I think it depends on the context, but there      18:12:31
13   opinions in this matter?                                            13   could be a distinction there.
14          (The witness further reviewed Exhibit 1.)                    14       Q. What's the distinction?                      18:12:35
15          THE WITNESS: Let me just -- let me just say                  15       A. I can imagine a situation where profitability 18:12:36
16   that the revenue from sales of Office is relevant                   16   refers more to a margin.
17   under the income approach because it's the first step               17       Q. And for purposes of Georgia-Pacific Factor 8, 18:12:48
18   in understanding at-risk profit. Understanding the                  18   is profit or profit margin the relevant metric?
19   revenue that's been generated, and how much of that                 19       A. I think it depends on the case. They both         18:12:56
20   revenue is at risk without the patented functionality               20   could be relevant.
21   is one of the steps in that process.                                21       Q. How was Microsoft's total profit relevant to      18:13:00
22   BY MR. GLITZENSTEIN:                                                22   any issue in this lawsuit?
23       Q. Is it relevant in any other way?               18:09:03      23       A. You mean Microsoft's total profit as a          18:13:10
24       A. I think it's relevant in the sense that it    18:09:27       24   company?
25   demonstrates the relative importance of Office to                   25       Q. Well, the profit numbers that you cite in        18:13:12


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